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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MICHAEL J DANIELS, ET AL.,                      §
                                                §
                  Plaintiffs,                   §
                                                §
vs.                                             §                 5-19-CV-01280-RBF
                                                §
AETC II PRIVATIZED HOUSING, LLC,                §
AETC II PROPERTY MANAGERS, LLC,                 §
HUNT ELP, LTD,                                  §
                                                §
                  Defendants.                   §

                                            ORDER

       Before the Court is the Motion for Summary Judgment Against Vinales Plaintiffs, Dkt.

No. 260, and the Motion to Strike Plaintiffs’ Declarations and Summary Judgment Exhibit, Dkt.

No. 332, both filed by Defendants. The motions have been fully briefed, and the Court held a

motions hearing on November 17, 2022, attended by all parties.

       For the reasons stated below, the Motion for Summary Judgment, Dkt. No. 260, is

GRANTED IN PART AND DENIED IN PART. The Court is persuaded by Defendants’

arguments on the federal-enclave doctrine and fraudulent misrepresentation, and therefore

partially grants summary judgment accordingly. The Motion to Strike, Dkt. No. 332, is

GRANTED IN PART AND DENIED IN PART as to the Vinales Plaintiffs for the purposes of

summary judgment and without prejudice. The Court STRIKES the DOJ press release, Dkt. No.

319-12.

       In all other respects, the motions are DENIED without prejudice to reraising at trial.

                                          Background

       In a deed of cession dated October 4, 1951, the State of Texas officially ceded to the

United States “exclusive jurisdiction” over the land that would become Randolph Air Force
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Base. Dkt. No. 160-1 at 8, 14. Texas expressly retained for itself “concurrent jurisdiction . . . so

far, that all process, civil and criminal, . . . may be executed by the proper officers of the State of

Texas” within the ceded land. Dkt. No. 160-1 at 14.

       In 2007, the Air Force entered into a 50-year ground lease with Defendant AETC II

Privatized Housing, LLC, to operate and maintain the on-base housing residences at Randolph.

See Dkt. No. 305. The ground lease instructs the lessee to “comply with all Applicable Laws,”

including local sanitation and building codes, while noting “that the United States presently

exercises exclusive federal jurisdiction over the Leased Premises.” Dkt. No. 305 at 26-27. The

Master Development and Management Agreement also defines the term “Applicable Law” as

including “all federal, state and local laws.” Dkt. No. 305-2 at 6.

       Plaintiffs Shane and Becky Vinales requested on-base housing at Randolph in October

2017.1 On their first walk-through of the house they would ultimately lease, Plaintiffs say they

noticed a “musty smell” and dead cockroaches on the floor. The leasing agent told Plaintiffs that

the houses were “old” and smelled like “grandma’s house.” On October 16, 2017, Plaintiff Shane

Vinales signed a lease for military housing at Randolph with Defendant AETC II Privatized

Housing, LLC. See Dkt. No. 260-2. The lease noted that any landlord-tenant disputes must be

resolved “in accordance with the local applicable laws.” Dkt. No. 260-2 at 8. The Resident

Guidelines incorporated into the lease also state that the landlord will “comply with all

applicable building and housing code requirements governing residential rental property in the

State of Texas.” Dkt. No. 260-3 at 6.

       Plaintiffs allege that upon moving into the house, a previous tenant informed them of

problems with the house. Plaintiffs explain that they followed up with the leasing office but were

1
  The Court draws upon the undisputed facts stated in the parties’ briefing and the attached
exhibits, including Plaintiffs’ deposition testimony. See Dkt. Nos. 260, 319.

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told that there were “no problems” with the house. Shortly thereafter, according to Plaintiffs,

they noticed mold growing on several items in the house and indicated as much on their move-in

checklist. Plaintiffs allege a series of requests for routine maintenance due to mold or other

housing problems throughout their time at Randolph. And according to Plaintiffs, Defendants

would respond to those calls, conduct maintenance, and then inform Plaintiffs that the problem

had been fixed, only for Plaintiffs to encounter the same issues later. In early 2019, Plaintiffs

agreed to a remediation project for the house and were temporarily relocated, after which

Plaintiffs received transfer orders to another base. During and after the move-out process,

Plaintiffs noticed mold on personal items and had to discard them. Plaintiffs also paid monthly

rent to Defendants while living at Randolph in the form of BAH payments.

       On October 29, 2019, Plaintiffs initiated this lawsuit, alleging breach of contract,

negligence, fraud, and other state-law causes of action in connection with their housing at

Randolph.

                                      Standard of Review

       On a motion for summary judgment, the moving party bears the initial burden of showing

both the lack of any genuine dispute of material fact and that it “is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986); Davis v. Fort Bend Cnty., 765 F.3d 480, 484 (5th Cir. 2014). Where the moving party

bears the ultimate burden of proof at trial, such as a defendant seeking summary judgment on an

affirmative defense, then “he must establish beyond peradventure all of the essential elements of

the claim or defense to warrant judgment in his favor.” Fontenot v. Upjohn Co., 780 F.2d 1190,

1194 (5th Cir. 1986). But where the moving party does not bear the burden of proof, summary

judgment may be obtained “simply by disproving the existence of any essential element of the



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opposing party’s claim.” Id. Once the moving party has met this initial burden, then the burden

shifts to the non-moving party to come forth with “specific facts showing that there is a genuine

issue for trial.” Celotex, 477 U.S. at 324; accord Little v. Liquid Air Corp., 37 F.3d 1069, 1075

(5th Cir. 1994). While courts resolve any factual disputes in favor of the non-moving party, the

party opposing summary judgment must come forth with more than “conclusory allegations,” as

“only a ‘scintilla’ of evidence” will not suffice. Little, 37 F.3d at 1075. Even where an affidavit

or declaration “conflicts to some degree with an earlier statement,” courts cannot disregard the

proffered summary judgment evidence but “must consider all the evidence.” Winzer v. Kaufman

Cnty., 916 F.3d 464, 472 (5th Cir. 2019) (quotation omitted).

                                              Analysis

       A.      Many of Plaintiffs’ Claims are Barred Due to the Federal-Enclave Doctrine.

       When the federal government acquires exclusive jurisdiction over a tract of state land,

thereby transferring it into a “federal enclave,” the general rule is that “local law not inconsistent

with federal policy remain[s] in force until altered by national legislation.” Pac. Coast Dairy v.

Dep’t of Agric. of Cal., 318 U.S. 285, 293 (1943). But state laws enacted after acquisition have

no effect within the federal enclave, even if application of those laws would not conflict with

federal laws or regulations. See Paul v. United States, 371 U.S. 245, 269 (1963) (permitting non-

conflicting state price controls in federal enclaves only where “the basic state law authorizing

such control has been in effect since the times of these various acquisitions”). A state’s

reservation of “concurrent jurisdiction for service of civil and criminal process” does not affect

this analysis. Lord v. Loc. Union No. 2088, 646 F.2d 1057, 1060 & n.6 (5th Cir. 1981).

       Plaintiffs do not dispute that Randolph is a federal enclave. In any event, Randolph

became a federal enclave when Texas ceded exclusive jurisdiction over the land to the United



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States in 1952. See Dkt. No. 160-1 (deed of cession); United States v. Sharpnack, 355 U.S. 286,

286 (1958) (referring to Randolph as “a federal enclave in Texas”). Plaintiffs even plead “federal

enclave subject-matter jurisdiction” in their Amended Complaint and state that all “pertinent

events” occurred within a federal enclave. See Dkt. No. 9 ¶¶ 8-11. Accordingly, federal law

applies within Randolph, in addition to any non-conflicting Texas state law in effect at the time

of cession.

       Because Defendants have met their initial burden on the federal-enclave doctrine, the

burden rests with Plaintiffs to identify some caveat that would allow any otherwise-barred claims

to proceed. Plaintiffs do not take issue with the list of claims and damages that Defendants assert

were unavailable in 1952 and thus must be dismissed if the Court agree that the federal-enclave

doctrine applies. Instead, Plaintiffs raise several arguments urging that some of their claims

should be allowed to proceed despite the fact that Randolph is a federal enclave. See Dkt. No.

319 at 4-13.

       Potentially the most persuasive argument Plaintiffs raise urges that Congress authorized

the application of state law to any “civil action brought to recover on account of an injury”

occurring within a federal enclave. 28 U.S.C. § 5001(b) (titled “Personal injury”). Most district

courts faced with this issue have treated the term “injury” in § 5001(b) as meaning only physical

injuries. See, e.g., Kelly v. Lockheed Martin Servs. Grp., 25 F. Supp. 2d 1, 8 (D.P.R. 1998)

(reviewing legislative history). A few unreported district court decisions have extended this

statute to include “purely emotional injuries.” See, e.g., Andersen v. Lewis McChord

Communities LLC, No. 3:21-CV-05391-DGE, 2022 WL 874774, at *4 (W.D. Wash. Mar. 24,

2022) (relying on modern definitions). No court, it appears, has ruled that § 5001(b)

encompasses economic injuries. See id. at *4-5.



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       Plaintiffs do not bring any claims to recover for “purely emotional injury.” See id. at *4

(negligent infliction of emotional distress); Kasperzyk v. Shetler Sec. Servs., Inc., No. C-13-3383

EMC, 2014 WL 31434, at *13 (N.D. Cal. Jan. 3, 2014) (intentional infliction of emotional

distress). The only claim Plaintiffs reference in conjunction with this argument is their Texas

Deceptive Trade Practices Act (“DTPA”) claim. See Dkt. No. 319 at 10-11 & n.6. But the DTPA

is not a cause of action “to recover on account of an injury” under 28 U.S.C. § 5001(b).2 Indeed,

the DTPA’s main purpose is “to protect consumers by encouraging them to bring consumer

complaints.” PPG Indus., Inc. v. JMB/Houston Centers Partners Ltd. P’ship, 146 S.W.3d 79, 84

(Tex. 2004) (emphasis added) (citing Tex. Bus. & Com. Code § 17.44(a)). The DTPA’s primary

focus is redressing economic injuries—damages for mental anguish are only available in limited

circumstances. See Tex. Bus. & Com. Code § 17.49(e) (“Except as specifically provided . . . ,

nothing in this subchapter shall apply to a cause of action for bodily injury or death or for the

infliction of mental anguish.”); id. § 17.50(b)(1) (permitting “damages for mental anguish” only

for knowing violations, with treble damages available for intentional conduct); cf. Roberts v. Zev

Techs., Inc., No. 1:15-CV-309 RP, 2015 WL 7454688, at *5 (W.D. Tex. Nov. 23, 2015) (“Texas

appellate courts have repeatedly admonished that the DTPA does not provide relief for personal

injury claims.”). Plaintiffs cite no cases where a court has allowed claims based on state

consumer-protection law to proceed under § 5001(b). This Court is aware of none. Plaintiffs

provide no persuasive rationale for this Court to break new ground here.

       Plaintiffs’ remaining arguments for exceptions to the federal-enclave doctrine are also

unpersuasive. See Dkt. No. 319 at 4-13. The Court adopts the arguments in Defendants’ Reply

that take issue with, and dispose of, these various attempts to sidestep the doctrine. See Dkt. No.


2
  The Court additionally notes that Plaintiffs have already stipulated to the dismissal of all claims
to recover damages for physical injury or illness. See Dkt. No. 220.
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330 at 1-5. To briefly summarize in general terms: there is no applicable choice-of-law clause

here; the caveat for service of process in the cession deed is limited to just that; there is no legal

distinction between “adopting” and “recognizing” common-law causes of action; and policy

arguments are best raised before Congress. And to the extent Plaintiffs invoke a purported

factual dispute about whether Defendants’ policy decisions occurred (geographically) outside of

any federal enclave, the only supporting evidence offered is the signature page of the Declaration

of Chris Radliff. See Dkt. No. 262-1 at 19. The declarant’s business address and where he signed

his declaration in June 2022 are immaterial to where Plaintiffs’ injuries occurred from 2017 to

2019. Plaintiffs cannot conjure a genuine factual dispute from such speculation.

       Accordingly, the Court finds that the federal-enclave doctrine applies, and that Plaintiffs’

claims are governed by federal law and non-conflicting, pre-cession Texas law. As a result, any

statutory or common-law claims premised on causes of action adopted after 1952 are

unavailable, as are any forms of damages or relief not recognized at the time. As Defendants

have explained, this requires dismissal of Plaintiffs’ statutory claims (Counts 1, 2, 5, and 10),

common-law claims for implied warranty (Count 2) and negligent misrepresentation (Count 4),

damages for personal injury under the lease (Count 3), damages for mental distress, and

attorney’s fees.3

       The Court must pause at this juncture to observe a fundamental tension between the

federal-enclave doctrine and Defendants’ structuring of their remaining summary judgment

arguments: Defendants correctly assert that the federal-enclave doctrine limits the available

causes of action to Texas substantive law in effect at the time of cession and yet the remainder of


3
 Plaintiffs note that if the federal-enclave doctrine applies, then Texas’s current statutory cap on
punitive damages is inapplicable. See Dkt. No. 319 at 13. The Court does not reach this issue but
will consider such arguments if and when the issue is squarely presented.

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Defendants’ briefing relies exclusively on post-cession Texas case law. Defendants thus have not

met their initial burden of establishing entitlement to summary judgment under the law in effect

in 1952.4 Nevertheless, as explained below, the Court will consider Defendants’ arguments on

Plaintiffs’ fraud claims, which the parties substantially narrowed at oral argument and appeared

to agree upon as to the basic elements.

       B.      Plaintiffs Do Not Identify Any Actionable Fraudulent Statements.

       Defendants seek summary judgment on Plaintiffs’ fraud claims for failure to satisfy

several of the basic elements. See Dkt. No. 260 at 11-15, 27. Because the Court has already

determined that Plaintiffs’ DTPA, negligent misrepresentation, and statutory fraud claims must

be dismissed under the federal-enclave doctrine, the only fraud claim remaining is common-law

fraud in Count 6. See Dkt. No. 9 ¶¶ 180-83. Defendants’ arguments that Plaintiffs failed to plead

fraud with particularity as required under Civil Rule 9(b) are well-taken.5 In response, Plaintiffs


4
  In particular, the parties have not addressed how the federal-enclave doctrine affects certain
defenses, such as the economic loss rule, and whether subsequent developments in other areas of
federal common law apply within federal enclaves to modify pre-cession state law. The parties
have also not sufficiently addressed whether damage to personal property should be treated any
differently from purely economic losses, or how the existence of a lease agreement might affect
the analysis for law in effect in 1952. The Court would be receptive to further briefing and
argument on these questions.
        On the other hand, regardless of what the applicable limitations period was in 1952 for
each of Plaintiffs’ claims, the Court is not persuaded by Defendants’ arguments on the statute of
limitations. The Court agrees with Plaintiffs’ view that discreet harms and causes of action can
accrue at different times, including whenever rent is paid, regardless of when Plaintiffs were first
aware of any “musty smell.” At most, the two-year limitations period, assuming that is what
applies, would bar recovery for discreet claims occurring only within the first two weeks of
Plaintiffs’ occupancy.
5
  Indeed, the Amended Complaint fails to identify any allegedly false statements pertaining to
the Vinales Plaintiffs’ housing issues. See Dkt. No. 9 ¶¶ 88-102. “At a minimum, Rule 9(b)
requires allegations of the particulars of ‘time, place, and contents of the false representations, as
well as the identity of the person making the misrepresentation and what he obtained thereby.’”
Tel-Phonic Servs., Inc. v. TBS Int’l, Inc., 975 F.2d 1134, 1139 (5th Cir. 1992) (quoting 5 C.
Wright & A. Miller, Federal Practice and Procedure § 1297, at 590 (1990)). Plaintiffs insist that
Rule 9(b) is a “moot point” given the current summary judgment posture. Dkt. No. 319 at 28.
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attach the Declaration of Shane Vinales. See Dkt. No. 319-8. Citing only the averments

contained therein, Plaintiffs insist that “a fact issue exists” as to each element of fraud. Dkt. No.

319 at 28-29. Plaintiffs additionally assert fraudulent inducement as a defense to avoid the lease

contract. See Dkt. No. 319 at 16-17 & n.12. At oral argument, the Court further pressed the

parties to clarify which allegedly fraudulent statements Plaintiffs believe constitute actionable

claims (or defenses) in fraud. Plaintiffs identified two: “grandma’s house” and “no problems.”6

As explained below, the Court concludes that neither statement is actionable in fraud.

       Claims for fraudulent misrepresentation and fraudulent inducement under the common

law involve similar elements, which have remained largely unchanged throughout statehood. To

state a claim for fraud, a plaintiff must show:

       (1) That a material representation was made; (2) that it was false; (3) that, when
       the speaker made it, he knew it was false or made it recklessly without any
       knowledge of its truth and as a positive assertion; (4) that he made it with the
       intention that it should be acted upon by the party; (5) that the party acted in
       reliance upon it; and (6) that he thereby suffered injury.

Wilson v. Jones, 45 S.W.2d 572, 573 (Tex. Comm’n App. 1932); accord Trenholm v. Ratcliff,

646 S.W.2d 927, 930 (Tex. 1983). The same elements must be established to avoid a contract on

the grounds of fraudulent inducement, with an additional showing of “a promise of future

performance made with no intention of performing at the time it was made.” Zorrilla v. Aypco

Constr. II, LLC, 469 S.W.3d 143, 153 (Tex. 2015); accord Turner v. Biscoe, 171 S.W.2d 118,


The Court disagrees. If anything, Rule 9(b) supplies a more lenient standard by which pleadings
are judged at the motion-to-dismiss stage. If Plaintiffs cannot satisfy Rule 9(b) at this late stage,
where their claims have benefitted from significant discovery, then the fraud claims must be
dismissed.
6
    While Plaintiffs insist that statements on Defendants’ websites also contained
misrepresentations, counsel effectively conceded at the hearing that such language was
“puffery.” Moreover, as Defendants point out, the Vinales Plaintiffs stated under oath that they
never looked at any websites or advertising before signing the lease. See Dkt. No. 332-1 at 56-
57.

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119 (Tex. Comm’n App. 1943). It is a “well-settled rule” that “a statement of opinion cannot

constitute fraud and form a basis for recovery.” Wilson, 45 S.W.2d at 574; accord Transp. Ins.

Co. v. Faircloth, 898 S.W.2d 269, 276 (Tex. 1995). Thus, whether applying present common law

or that in effect at the time of cession, Plaintiffs must introduce some evidence to show a

“material representation,” as opposed to mere opinion, as well as falsity and reliance, to survive

summary judgment.

       The first allegedly fraudulent statement is outlined in the Declaration of Shane Vinales:

       When we were offered a house at Randolph AFB, we did have the ability to walk
       through the house. However, it was not a true inspection, but simply a walk
       through. We immediately noticed a “musky” smell when we entered the home
       and when we inquired about it, we were told by a Hunt representative that “these
       homes are old, and this is what grandma’s house smells like”. We never had an
       opportunity to delve deep into anything before we signed a lease, let alone hire an
       inspector with knowledge and training to inspect the house before we signed a
       lease. Further, we were pressured to sign the lease promptly, as Hunt’s
       representatives told us that there was a long list to get a house and if we did not
       take the house that was available, we may not get another house.

Dkt. No. 319-8 ¶ 6. Plaintiffs also assert that Defendants’ leasing agent, Terri Hefford, explained

that “the musty ‘old house’ was normal.” Id. ¶ 7. Becky Vinales likewise described this exchange

during the first walk-through of the house at Randolph:

               Q. Okay. You said you do remember a conversation in the walk-through?
       What do you remember?
               A. Yes. So, both homes were actually dirty. The one that we ended up
       with, we asked them to re-clean it because there were cockroaches on the—like,
       dead cockroaches on the floor. And both buildings smelled musty. And I actually
       brought it up to her, to Terri, and her response was so vague. It was just like, “Oh,
       it smells like grandma’s—grandma’s house.” Like, an old smell.
               ...
               Q. And—and your walk-through of the unit that you eventually lived in,
       you didn’t see any kind of mold, moisture stains, leaks, standing water? None of
       that?
               A. I didn’t see any standing water or any of that, no. Just the cockroaches
       and musty smell.

Dkt. No. 286-1 at 5; Deposition of Becky Vinales at 48:2-24 (Oct. 12, 2021).


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       The Court is unconvinced that there is any actionable misrepresentation here. The only

representations are: (1) the house is “old”; (2) the house smells like “grandma’s house”; and

(3) the house is “normal.” Plaintiffs do not explain sufficiently how any of these representations

are false. Defendants concede that the homes at Randolph are indeed “old.” Plaintiffs do not

assert that “grandma’s house” smells the way it does because it isn’t moldy. As for what

“normal” means, this is obviously a statement of opinion and too vague to form any basis for

fraud, as is the “grandma’s house” comment. And although Plaintiffs contend that they felt

“pressured to sign the lease promptly” due to a long waiting list for on-base housing, Plaintiffs

do not allege any falsity in the waiting-list representation.7

       The second alleged misrepresentation—“no problems”—is first identified by Defendants

in their Motion; Plaintiffs do not actually rely on the “no problems” statement in their Response.

This allegedly false statement arose during the following deposition exchange:

               Q. And how did you know Ms. Dyer?
               A. So, I’ve never met her. I met her husband, actually the day the movers
       were coming into the house. He showed up in his car and . . . came in like, “Hey, I
       was a previous tenant and we had some problems with this house,” and walked us
       in. And that was interesting.
               So, I went to Housing after that and told them that he came by and
       inquired like, are there problems with this home, like this previous tenant came
       and told us that they had problems. And I remember this day clear. It was Audra
       and it was the brunette that works up front, I cannot remember her name, but they
       were looking at the computer. They were like, no, there’s no problems. Like,
       nothing was ever previously wrong with this home.
               Q. Okay. So, when you said, “the day the movers arrived,” you’re talking
       about the day the movers arrived to move y’all into the home, not move you out?
               A. Right.
               Q. Okay.

7
  Moreover, this description appears to be contradicted by the deposition testimony, which
explains that it was Fort Sam Houston that had a “six-month wait” for housing, whereas at
Randolph “there was availability immediately,” and that Plaintiffs chose on-base housing
because they “like[d] the military feel of being on base, the security,” and therefore “chose not
to” even consider looking at “civilian housing.” Dkt. No. 286-1 at 2; Becky Vinales Depo. at
44:9-25 (Oct. 12, 2021).

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              A. So, I had no reason to not trust what the Hunt employee said. I mean,
       they seemed really friendly when we moved in.
              Q. Okay.
              A. So, I took their word. I went, I asked, they said everything was fine,
       and that was that.

Dkt. No. 286-1 at 85-86; Deposition of Becky Vinales at 231:19-232:21 (Oct. 12, 2021).

       There are several shortcomings with this argument. First, there is no actual representation

identified here, just Plaintiffs’ generic description of a conversation as conveying the sense that

there were “no problems” with the house. The Court cannot distinguish between what was said,

which might be actionable, as opposed to Plaintiffs’ subjective belief, which is not. Second, such

a vague representation as “no problems,” without context, is indistinguishable from an

expression of opinion. Third, and perhaps most importantly, there is no indication that Plaintiffs

relied on this representation. Indeed, this conversation purportedly occurred “the day the movers

were coming,” or in other words after Plaintiffs signed the lease. Even if this did constitute a

false statement, Plaintiffs cannot argue fraudulent inducement based on after-the-fact

representations.

       The Court also observes that dismissal of Plaintiffs’ fraud claims may implicate some of

the other claims seeking equitable relief. Defendants assert that the existence of a valid lease

agreement bars any claims for unjust enrichment or money had and received. Plaintiffs do not

disagree but insist they can properly plead these equitable doctrines in the alternative because

“the lease was fraudulently induced.” Dkt. No. 319 at 30. Indeed, the case Plaintiffs cite in

response explicitly states that “unjust enrichment is unavailable when a valid, express contract

governing the subject-matter of the dispute exists.” Gordon v. Sig Sauer, Inc., No. CV H-19-585,

2019 WL 4572799, at *16 (S.D. Tex. Sept. 20, 2019) (quoting Eun Bok Lee v. Ho Chang Lee,

411 S.W.3d 95, 112 (Tex. App. 2013)). While the Court agrees that Plaintiffs are generally

permitted to plead in the alternative, Plaintiffs offer no rationale why their unjust enrichment
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claim, premised solely on their payment of BAH for housing at Randolph, see Dkt. No. 9 ¶ 184,

can proceed independent of their fraudulent-inducement defense to the lease agreement. The

Court thus concludes that Counts 6 (fraud) and 7 (unjust enrichment/money had and received)

must both be dismissed.

       C.      The Motion to Strike Is Granted in Part.

       Defendants move to strike a DOJ press release announcing a settlement against different

entities in a different military base for unrelated fraud allegations, which is attached to Plaintiffs’

Response as Exhibit L. See Dkt. No. 319-12. Defendants seek to exclude that evidence on

grounds of relevance, hearsay, and settlement offer. See Dkt. No. 332 at 7-8; Fed. R. Evid. 402,

408, 801. The Court agrees that the press release is simply not relevant. The press release

describes a recent settlement reached between the DOJ and Hunt Companies, Inc., for allegedly

submitting false information to the Air Force regarding housing operations at the Dover Air

Force Base in Connecticut. Plaintiffs argue that the press release is admissible to establish a

“pattern and practice” of fraud. See Dkt. No. 333 at 5-6. But the Hunt entity in the release is not a

party to this case; nor do Plaintiffs allege in this case that Defendants made any fraudulent

representations to the government. Moreover, because the announced settlement was without

admission of fault, the Court struggles to see how the press release helps to establish any facts

related to Plaintiffs’ (now-dismissed) claims of fraud here. To the extent Plaintiffs attempt to

conflate different Hunt entities, the evidence would be confusing, misleading, and unfairly

prejudicial under Rule 403.

       Defendants also ask the Court to strike the declarations attached to Plaintiffs’ responses

to each of the eight plaintiff-specific summary judgment motions filed by Defendants. As it

pertains to the Vinales Plaintiffs, Defendants attack the Declaration of Shane Vinales, Dkt. No.



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319-8, on grounds of personal knowledge, hearsay, and contradiction with prior testimony. See

Dkt. No. 332-1 at 50-61. Defendants fault Plaintiffs for utilizing “template, cookie-cutter

Declarations from one Plaintiff in each family” with minor adjustments. Dkt. No. 332 at 1. But

Defendants identify no authority for such broad relief and cite no cases where other courts struck

an entire declaration for similar deficiencies.8 Even accepting arguendo Defendants’ objections,

the Court is disinclined to strike entire declarations based on evidentiary concerns as to

individual statements or even in the aggregate. Indeed, it appears that the proper remedy in such

a situation where a declaration fails to point to admissible evidence or evidence capable of being

presented in admissible form is simply to grant summary judgment. See Fed. R. Civ. P. 56(e).

The Court—without having to strike every declaration as Defendants request—is fully capable of

determining which statements are not afforded any weight on summary judgment.

                                          Conclusion

       For the reasons stated above, IT IS ORDERED that the Motion for Summary Judgment,

Dkt. No. 260, is GRANTED IN PART AND DENIED IN PART. In particular, the Court

GRANTS summary judgment on the federal-enclave doctrine, as well as Defendants’ arguments

8
 Defendants direct the Court to the following passage from Ragas v. Tennessee Gas Pipeline
Co., 136 F.3d 455 (5th Cir. 1998), in support of their requested relief:
       Needless to say, unsubstantiated assertions are not competent summary judgment
       evidence. The party opposing summary judgment is required to identify specific
       evidence in the record and to articulate the precise manner in which that evidence
       supports his or her claim. Rule 56 does not impose upon the district court a duty
       to sift through the record in search of evidence to support a party’s opposition to
       summary judgment.
Id. at 458 (citations and quotations omitted). But Ragas did not involve striking declarations. It
involved a grant of summary judgment for failure to identify sufficient evidence to withstand
summary judgment. See id. In other words, per Ragas, the proper remedy where the non-moving
party only cites a declaration full of conclusory or vague statements is granting summary
judgment—there is no need to strike the declarations to reach that result. See also Hinds v.
Dallas Indep. Sch. Dist., 188 F. Supp. 2d 664, 676 (N.D. Tex. 2002) (affording no weight to
tendered affidavit full of speculation and conjecture as opposed to striking affidavit entirely).

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pertaining to fraudulent misrepresentation. Accordingly, the Court DISMISSES Counts 1, 2, 5,

6, 7, and 10, as well as claims for personal injury in Count 3, negligent misrepresentation in

Count 4, attorney’s fees, and damages for mental distress from the Amended Complaint, Dkt.

No. 9, as it pertains to Plaintiffs Shane Vinales and Becky Vinales, individually and as next

friend of Landon Vinales and Savannah Vinales. In all other respects, the Court DENIES

summary judgment on the grounds raised in the motion without prejudice to reraising at trial in a

motion for judgment as a matter of law. To clarify, the causes of action remaining at issue are:

Count 3 (breach of contract), Count 4 (negligence), Count 8 (intentional nuisance), Count 9

(negligent nuisance), and Count 11 (gross negligence). Plaintiffs also assert claims for exemplary

damages and joint liability.

       Additionally, the Motion to Strike, Dkt. No. 332, is GRANTED IN PART AND

DENIED IN PART as to the Vinales Plaintiffs for the purposes of summary judgment and

without prejudice to reraising inconsistencies and evidentiary objections at trial or in a motion in

limine. The Court hereby STRIKES as not relevant the DOJ press release attached as Exhibit L

to the Vinales Plaintiffs’ Response, Dkt. No. 319-12, but in all other respects, the requested relief

is DENIED.

       IT IS SO ORDERED.

       SIGNED this 4th day of January, 2023.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE




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